Case 1:18-cv-23704-BB Document 5 Entered on FLSD Docket 10/22/2018 Page 1 of 11



                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 18-23704-CV-BLOOM
                                             (16-20554-CR-BLOOM)
                                    MAGISTRATE JUDGE P.A. WHITE

 RALPH PATRICK MARTIN,              :

             Movant,                :

 v.                                 :          REPORT OF
                                            MAGISTRATE JUDGE
 UNITED STATES OF AMERICA,          :

      Respondent.               :
 ______________________________


                                Introduction
       This matter is before this Court on the movant's motion to
 vacate pursuant to 28 U.S.C. §2255, attacking his conviction and
 sentence entered in Case No. 16-20554-CR-BLOOM.


       The instant motion was filed on August 28, 2018. The movant
 presents a two claims. He argues that the statutes under which he
 was charged are insufficient in that they are uncertain. He further
 contends that his prior conviction for resisting an officer with
 violence is not a violent felony within the statutory definition
 set forth in the Armed Career Criminal Act (“ACCA”) and therefore
 his sentence must be corrected.


       Upon review of the motion along with all pertinent portions of
 the underlying criminal file, it is apparent from the face of the
 record that the claim raised fails on the merits. A judge may
 dismiss a section 2255 motion if “it plainly appears from the
 motion, any attached exhibits, and the record of prior proceedings
 that the moving party is not entitled to relief.” Rule 4(b) of the


                                        1
Case 1:18-cv-23704-BB Document 5 Entered on FLSD Docket 10/22/2018 Page 2 of 11



 Rules Governing Section 2255 Cases in the United States District
 Courts. See also 28 U.S.C. §2243.1 Since it appears that summary
 dismissal is warranted and the petitioner is not entitled to post-
 conviction relief, no order to show cause has been issued in the
 instant case and the government has therefore not been required to
 file a response to the petition.
                                        Claims
       The movant, in his pro se motion, raised two claims. He claims
 that in light of Sessions v. Dimaya, - U.S. -, 138 S.Ct. 1204
 (2018) the statute under which he was charged and convicted, 18
 U.S.C. § 922(g)(1), is too vague to support his conviction because
 it does not provide a definition of firearm, ammunition or court.
 He next that he no longer qualifies as an armed career criminal
 after the Supreme Court’s decision in Johnson v. United States, 135
 S.Ct. 2551 (2015).2


       1
           Section 2243, governing applications for writ of habeas corpus, provides:

       A court, justice or judge entertaining an application for a writ of
       habeas corpus shall forthwith award the writ or issue an order
       directing the respondent to show cause why the writ should not be
       granted, unless it appears from the application that the applicant
       or person is not entitled thereto.

 28 U.S.C. §2243 (emphasis added). Rule 4 of the Rules Governing Section 2255
 Cases provides:

                The judge who receives the motion must promptly examine
                it. If it plainly appears from the motion, any attached
                exhibits, and the record of prior proceedings that the
                moving party is not entitled to relief, the judge must
                dismiss the motion and direct the clerk to notify the
                moving party....

 RULES GOVERNING SECTION 2255 CASES, RULE 4(b) (emphasis added). A district court
 has the power under Rule 4 of the Rules Governing Section 2255 Cases to summarily
 dismiss a movant’s claim for relief so long as there is a sufficient basis in the
 record for an appellate court to review the district court’s decision. Broadwater
 v. United States, 292 F.3d 1302, 1303-04 (11th Cir. 2002).
       2
         In Johnson, the Supreme Court held that the Armed Career Criminal Act’s
 (ACCA) residual clause was unconstitutionally vague, and that imposing an
 enhanced sentence pursuant to that clause thus violates the Constitution’s
 guarantee of due process.

                                           2
Case 1:18-cv-23704-BB Document 5 Entered on FLSD Docket 10/22/2018 Page 3 of 11



                            Procedural History
       The movant was charged by superseding indictment with two
 counts   of   possession   of    a   firearm     by   a   convicted   felon,   in
 violation     of Title   l8,    United       States   Code,   §§   922(g)(1) and
 924(e)(l). (CR-DE# 27). On December 9, 2016, the movant entered a
 written plea agreement and factual proffer. (CR-DE# 38, 39). The
 plea was accepted at a change of plea hearing held the same day the
 plea agreement was signed. (CR-DE# 63).


       A Presentence Investigation Report (“PSI”) was prepared for
 sentencing. The movant’s base offense level was 24 because he had
 sustained two prior felony convictions of a controlled substance
 offense. (PSI ¶13). Two levels were added to the offense level
 because the firearm had been stolen. (PSI ¶ 14). According to
 U.S.S.G. § 4B1.4(a) the offense level was set at 33 because the
 movant was subject to an enhanced sentence under 18 U.S.C. § 924(e)
 as an armed career criminal. (PSI ¶ 19). This designation was based
 on the movant’s two previous convictions for serious drug offenses
 and a previous conviction for resisting arrest with violence. (PSI
 ¶ 19, 24, 25, 26). The movant’s criminal history category was IV
 because he was an armed career criminal. (PSI ¶ 30). If not for the
 armed career criminal designation, the movant’s criminal history
 category would have been III. (PSI ¶ 29).


       Statutorily, pursuant to 18 U.S.C. § 924(e)(1), the movant was
 subject to a minimum sentence of 15 years and a maximum sentence of
 life. (PSI ¶ 75). The guideline range was from 135 to 168 months
 imprisonment, however, because the statutory minimum was greater
 than the guideline range, the guideline sentence was 180 months.
 (PSI ¶ 76).




                                          3
Case 1:18-cv-23704-BB Document 5 Entered on FLSD Docket 10/22/2018 Page 4 of 11



        On March 23, 2017, the movant was adjudicated guilty and
 sentenced to 180 months. (CR-DE# 50). The movant appealed. (CR-DE#
 51). On appeal the movant argued that his prior convictions for
 possession with intent to distribute cocaine did not qualify as
 serious drug offenses and that his prior conviction for resisting
 arrest with violence did not qualify as a violent felony under
 section 924(e). The movant acknowledged that these claims were
 foreclosed by binding Eleventh Circuit precedent but sought to
 preserve    them   for   further    appeal.     (CR-DE#   68).   The   movant’s
 conviction and sentence were affirmed on December 14, 2017. (CR-DE#
 68). The movant’s petition for writ of certiorari was denied on
 April 23, 2018.


        The instant petition was timely filed on August 20, 2018.



                                    Discussion
        Because collateral review is not a substitute for direct
 appeal, the grounds for collateral attack on final judgments,
 pursuant to section 2255, are extremely limited. A prisoner is
 entitled to relief under section 2255 if the court imposed a
 sentence that (1) violated the Constitution or laws of the United
 States, (2) exceeded its jurisdiction, (3) exceeded the maximum
 authorized by law, or (4) is otherwise subject to collateral
 attack. See 28 U.S.C. §2255(a); McKay v. United States, 657 F.3d
 1190, 1194 n.8 (11th Cir. 2011). “Relief under 28 U.S.C. § 2255 ‘is
 reserved for transgressions of constitutional rights and for that
 narrow compass of other injury that could not have been raised in
 direct    appeal   and   would,    if   condoned,   result   in    a   complete
 miscarriage of justice.’” Lynn v. United States, 365 F.3d 1225,
 1232     (11th   Cir.    2004)(citations      omitted).    The    “fundamental
 miscarriage of justice” exception recognized in Murray v. Carrier,


                                         4
Case 1:18-cv-23704-BB Document 5 Entered on FLSD Docket 10/22/2018 Page 5 of 11



 477 U.S. 478, 496 (1986), provides that it must be shown that the
 alleged constitutional violation “has probably resulted in the
 conviction of one who is actually innocent....”


       The law is well established that a district court need not
 reconsider issues raised in a section 2255 motion which have been
 resolved on direct appeal. Rozier v. United States, 701 F.3d 681,
 684 (11th Cir. 2012); United States v. Nyhuis, 211 F.3d 1340, 1343
 (11th Cir. 2000); Mills v. United States, 36 F.3d 1052, 1056 (11th
 Cir. 1994); United States v. Rowan, 663 F.2d 1034, 1035 (11th Cir.
 1981). Once a matter has been decided adversely to a defendant on
 direct appeal, it cannot be re-litigated in a collateral attack
 under section 2255. Nyhuis, 211 F.3d at 1343 (quotation omitted).
 Broad discretion is afforded to a court's determination of whether
 a particular claim has been previously raised. Sanders v. United
 States, 373 U.S. 1, 16, 83 S.Ct. 1068, 10 L.Ed.2d 148 (1963)
 (“identical grounds may often be proved by different factual
 allegations ... or supported by different legal arguments ... or
 couched in different language ... or vary in immaterial respects”).


       It is worth mentioning at the outset that the arguments raised
 herein, to the extent they were not addressed on appeal, but could
 have been, are procedurally defaulted from review. It is well
 settled that a claim is procedurally barred if a movant fails to
 raise it on appeal. In that regard, there are three types of issues
 that a section 2255 motion cannot raise: (1) issues that were
 raised on direct appeal, absent a showing of changed circumstances;
 (2) nonconstitutional issues that could have been but were not
 raised on direct appeal; and (3) constitutional issues that were
 not raised on direct appeal, unless the section 2255 petitioner
 demonstrates cause for the procedural default as well as actual
 prejudice from failure to appeal. Belford v. United States, 975


                                      5
Case 1:18-cv-23704-BB Document 5 Entered on FLSD Docket 10/22/2018 Page 6 of 11



 F.2d 310 (7th Cir. 1992), overruled on other grounds by Castellanos
 v. United States, 26 F.3d 717 (7th Cir. 1994). In order to overcome
 the bar, the movant must show cause for the default and actual
 prejudice,     Wainwright     v.   Sykes,    433    U.S.     72    (1977),      or   a
 fundamental miscarriage of justice, Engle v. Isaac, 456 U.S. 107
 (1982). No such showing has been made here.


       A claim of ineffective assistance of appellate counsel may
 constitute cause for failure to previously raise the issue. United
 States v. Breckenridge, 93 F.3d 132 (4th Cir. 1996). Attorney
 error, however, does not constitute cause for a procedural default
 unless it rises to the level of ineffective assistance of counsel
 under the test enunciated in Strickland v. Washington, 466 U.S. 668
 (1984); Murray v. Carrier, 477 U.S. 478, 488 (1986). Nowhere does
 the movant even remotely appear to fault counsel for failing to
 further   challenge     the   issue     on   appeal   as     suggested     herein.
 Consequently, movant has not shown cause or prejudice arising from
 the default of the claim.


       To the extent the movant is re-asserting arguments previously
 presented on direct appeal in this §2255 proceeding, such arguments
 add nothing of substance which would justify a different result.
 See   Hobson   v.   United    States,    825   F.2d    364,       366   (11th   Cir.
 1987)(claim    raised   and    considered      on   direct    appeal     precludes
 further review of the claim in a §2255 motion), vacated on other
 grounds, 492 U.S. 913 (1989); United States v. Nyhuis, 211 F.3d
 1340, 1343 (11th Cir. 2000); Webb v. United States, 510 F.2d 1097
 (5th Cir. 1975); Belford v. United States, 975 F.2d 310, 313 (7th
 Cir. 1992), overruled on other grounds by Castellanos v. United
 States, 26 F.3d 717 (7th Cir. 1994); Graziano v. United States, 83
 F.3d 587 (2nd Cir. 1996)(Collateral attack on a final judgment in
 a criminal case is generally available under §2255 only for a


                                         6
Case 1:18-cv-23704-BB Document 5 Entered on FLSD Docket 10/22/2018 Page 7 of 11



 constitutional error, a lack of jurisdiction in the sentencing
 court, or an error of law or fact that constitutes a fundamental
 defect      which       inherently    results     in   complete       miscarriage      of
 justice.).


 Sufficiency of the Indictment
        In his first claim the movant challenges his conviction for
 violation of 18 U.S.C. § 922(g)(1). He argues that the statute is
 too vague to advise him of the conduct proscribed. He also contends
 that the indictment was deficient because it did not inform him of
 when   he    was    previously        convicted   of   a     felony    punishable      by
 imprisonment exceeding one year. Finally, he claims that indictment
 did not charge a federal crime because it made no mention of 18
 U.S.C. § 2.


        These claims could arguable be construed as challenging the
 jurisdiction of the court, however none of the arguments attacking
 the    sufficiency         of   the    indictment      has    merit.    The    statute
 proscribing possession of a firearm by a convicted felon is not
 vague. The statute specifically provides that “[i]t shall be
 unlawful for any person --(1) who has been convicted in any court
 of, a crime punishable by imprisonment for a term exceeding one
 year . . .to ship or transport in interstate or foreign commerce,
 or possess in or affecting commerce, any firearm or ammunition; or
 to receive any firearm or ammunition which has been shipped or
 transported        in    interstate     or   foreign    commerce.”      18    U.S.C.   §
 922(g)(g)(1). “The term “firearm” means (A) any weapon (including
 a starter gun) which will or is designed to or may readily be
 converted to expel a projectile by the action of an explosive; (B)
 the frame or receiver of any such weapon; © any firearm muffler or
 firearm silencer; or (D) any destructive device. Such term does not
 include an antique firearm.” 18 U.S.C. § 921(a)(3).                          “The term

                                              7
Case 1:18-cv-23704-BB Document 5 Entered on FLSD Docket 10/22/2018 Page 8 of 11



 “ammunition” means ammunition or cartridge cases, primers, bullets,
 or propellent powder designed for use in any firearm.” 18 U.S.C. §
 921(a)(17)(A). The statute could not be less vague concerning the
 proscribed conduct.


       The movant was on notice that, as a person convicted of a
 crime subject to a sentence exceeding one year he could not possess
 a   firearm.   The   movant    admitted       that     he    had    been   previously
 convicted of a crime for which a sentence exceeding one year could
 be imposed and also admitted to possessing a firearm as defined
 under the statute. Since the statute is not vague and all terms are
 properly defined, this claim is without merit.


       The movant’s claim that he was not charged with an offense
 against the United States is also without merit. His sole basis for
 this claim is that he was not charged under 18 U.S.C. § 2. He
 contends that because he was not charged under this statute the
 court lacked jurisdiction. “So long as the indictment charges the
 defendant with violating a valid federal statute as enacted in the
 United States Code, it alleges an “offense against the laws of the
 United    States”    and,     thereby,       invokes        the    district   court's
 subject-matter jurisdiction.” United States v. Brown, 752 F.3d
 1344, 1354 (11th Cir. 2014). Here the indictment clearly charged
 the movant with a violation of 18 U.S.C. § 922(g), as such the
 court had subject matter jurisdiction over the indictment.


 The Armed Career Criminal Act
       The movant challenges his armed career criminal sentencing
 enhancement. He argues that his prior conviction for resisting
 arrest with violence does not qualify as a violent felony under the
 ACCA. This claim was raised and rejected on direct appeal with the
 court relying on United States v. Hill, 799 F.3d 1318 (11th Cir.


                                          8
Case 1:18-cv-23704-BB Document 5 Entered on FLSD Docket 10/22/2018 Page 9 of 11



 2015). In Hill the court found that “a prior conviction for
 resisting an officer with violence categorically qualifies as a
 violent felony under the elements clause of the ACCA.” Id. at 1322.
 Since this     claim    has already      been      adjudicated the       movant      is
 procedurally    barred    from      raising   it    in    this   post    conviction
 proceeding. This claim should be denied.


                        Certificate of Appealability
       Rule 11(a) of the Rules Governing Section 2255 Proceedings
 provides that “the district court must issue or deny a certificate
 of appealability when it enters a final order adverse to the
 applicant,” and that if a certificate is issued, “the court must
 state the    specific    issue      or   issues that       satisfy      the   showing
 required by 28 U.S.C. §2253(c)(2).”             Rule 11(a), Rules Governing
 Section 2255 Proceedings for the United States District Courts
 (hereinafter “Habeas Rules”).            Rule 11(a) further provides that
 “[b]efore entering the final order, the court may direct the
 parties to submit arguments on whether a certificate should issue.”
 Id.   Regardless, a timely notice of appeal must still be filed,
 even if the court issues a certificate of appealability.                        Rule
 11(b), Habeas Rules.


       A   certificate    of    appealability        may    issue     only     upon    a
 “substantial showing of the denial of a constitutional right.”                       28
 U.S.C. §2253(c)(2).      Where a §2255 movant’s constitutional claims
 have been adjudicated and denied on the merits by the district
 court, the movant must demonstrate reasonable jurists could debate
 whether the issue should have been decided differently or show the
 issue is adequate to deserve encouragement to proceed further.
 Miller–El v. Cockrell, 537 U.S. 322, 336–38 (2003); Slack v.
 McDaniel, 529 U.S. 473, 483–84 (2000).                   Where a §2255 movant's
 constitutional    claims      are   dismissed      on    procedural     grounds,      a


                                          9
Case 1:18-cv-23704-BB Document 5 Entered on FLSD Docket 10/22/2018 Page 10 of 11



  certificate of appealability will not issue unless the movant can
  demonstrate   both   “(1)    ‘that jurists        of   reason would       find    it
  debatable whether the [or motion] states a valid claim of denial of
  a constitutional right’ and (2) ‘that jurists of reason would find
  it   debatable   whether    the   district     court    was     correct    in    its
  procedural    ruling.’”      Rose   v.     Lee,   252    F.3d    676,     684    (4th
  Cir.2001)(quoting Slack, 529 U.S. at 484).             “Each component of the
  §2253© showing is part of a threshold inquiry, and a court may find
  that it can dispose of the application in a fair and prompt manner
  if it proceeds first to resolve the issue whose answer is more
  apparent from the record and arguments.”                 Slack, 529 U.S. at
  484–85.


        After   reviewing     the   issues    presented     in     light     of    the
  applicable standard, the court concludes that reasonable jurists
  would not find debatable the correctness of the court’s rulings.
  Accordingly, a certificate of appealability is not warranted.                    See
  Slack, 529 U.S. at 484–85 (each component of the §2253© showing is
  part of a threshold inquiry); see also Rose, 252 F.3d at 684.


                                    Conclusion
        Based upon the foregoing, it is recommended that the motion to
  vacate be DENIED, and that no certificate of appealability be
  issued.


        Objections to this report may be filed with the District Judge
  within fourteen days of receipt of a copy of the report, including
  any objections with regard to the denial of a certificate of
  appealability.


        SIGNED this 22nd day of October, 2018.



                                        10
Case 1:18-cv-23704-BB Document 5 Entered on FLSD Docket 10/22/2018 Page 11 of 11




                                           ______________________________
                                           UNITED STATES MAGISTRATE JUDGE


  cc:
  Ralph Patrick Martin
  13869-104
  Coleman I-USP
  United States Penitentiary
  Inmate Mail/Parcels
  Post Office Box 1033
  Coleman, FL 33521
  PRO SE

  J. Mackenzie Duane
  United States Attorney's Office
  99 N.E. 4th Street
  Miami, FL 33132

  Email: mackenzie.duane@usdoj.gov




                                      11
